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____________________________________________________________________________
                                                    SO ORDERED,




                                                    Judge Jason D. Woodard
                                                    United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT MISSISSIPPI

IN RE: TONYA D. WALTON                                                CHAPTER 13

DEBTOR                                                                CASE NO. 19-10120 JDW

              ORDER ON MOTION TO INCUR INDEBTEDNESS [DKT. #40]

       THIS CAUSE came before the Court upon the Debtor’s Motion to incur new indebtedness

for the purpose of obtaining a vehicle, and it appearing unto the Court that no timely responses have

been filed, the Motion is due to be granted.

       IT IS THEREFORE ORDERED that Debtor is granted permission to obtain financing for

purchase of a vehicle not to exceed the amount of $15,000.00. Payments on the indebtedness shall

not exceed $400.00 per month, with all payments to be made outside the plan.

                                      #ENDOFORDER#
Submitted by:

/s/ Karen B. Schneller
KAREN B. SCHNELLER, MSB 6558
ROBERT H. LOMENICK, JR., MSB 104186
SCHNELLER & LOMENICK, P.A.
126 NORTH SPRING STREET
P.O. BOX 417
HOLLY SPRINGS, MS 39635
662-252-3224/karen.schneller@gmail.com
rlomenick@gmail.com
ATTORNEY FOR DEBTOR
